Case 8:07-cr-00089-JSM-E_J Document 77 Filed 10/23/07 Page 1 of 6 PageID 147
Case 8:07-cr-00089-JSM-E_J Document 77 Filed 10/23/07 Page 2 of 6 PageID 148
Case 8:07-cr-00089-JSM-E_J Document 77 Filed 10/23/07 Page 3 of 6 PageID 149
Case 8:07-cr-00089-JSM-E_J Document 77 Filed 10/23/07 Page 4 of 6 PageID 150
Case 8:07-cr-00089-JSM-E_J Document 77 Filed 10/23/07 Page 5 of 6 PageID 151
Case 8:07-cr-00089-JSM-E_J Document 77 Filed 10/23/07 Page 6 of 6 PageID 152
